ND Response
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State Requests Additional Resources to
Support Law Enforcement Efforts
 Date: October 7, 2016

 Agency: Morton County or NODES

 Contact: Morton County PIO (701) 426-1587 or NDDES PIO (701) 391-8158

 Bismarck, ND - At the request of Morton County, the State of North Dakota today is asking for
 additional law enforcement resources from the State of Wisconsin to support the Morton
 County Sheriff's Department in its response to the Dakota Access Pipeline protests.

 Morton County Sheriff Kyle Kirchmeier requested these additional resources from the North
 Dakota Department of Emergency Services through the Emergency Management Assistance
 Compact (EMAC). The request was approved by Governor Jack Dalrymple. The additional
 officers will support local and state law enforcement that have been engaged in this effort
 for nearly two months.

 "We are grateful to the State of Wisconsin for providing additional law enforcement officers
 to support Morton County's response to the Dakota Access Pipeline protests," said Dalrymple.
 "These additional resources will make it possible for local and state law enforcement to
 sustain ongoing response efforts and address public safety needs across the county."

 The EMAC request approved by the State of Wisconsin will provide up to 40 sworn sheriffs'
 deputies from Dane County, Wisconsin and the surrounding region to support Morton County.
 These officers will provide assistance for up to 21 day rotations. Officers responding bring
 extensive experience to the challenges Morton County is currently facing.

 "I am grateful for Dane County Sheriff David Ma honey's willingness to assist Morton County,"
 said Kirchmeier. "Dane County's experience with large-scale demonstrations will allow for
 their seamless integration with our current mission of ensuring the safety and security in
 Morton County. The additional deputies will provide the manpower needed to respond to
 multiple protest locations. This ultimately enhances our ability to provide a consistently
 strong law enforcement presence for all the people of Morton County."             EXHIBIT

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The EMAC, in association with the National Emergency Management Association (NEMA), is a
national interstate mutual aid compact that facilitates the sharing of resources, personnel
and equipment across state lines during times of emergencies or disasters.




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